(Rev. 1/18) Petition for Admission Pro Hac Vice

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            Paul Del Aguila
          I,________________________________,           an active member in good standing of the Bar of the United States
District Court for the Western District of Missouri, request that this court admit pro hac vice,
__________________________,
 J. Scott Humphrey                  an attorney admitted to practice in a United States District Court, but not admitted to the
Bar of this court, who will be counsel for the Plaintiff                       , in the case(s) listed below. I am aware that the
local rules of this court require that I participate in the preparation and presentation of said case(s), and that I accept
service of all papers served. I also understand and agree that if the admittee does not sign up to receive CM/ECF filings, I
will be responsible for notifying the admittee of all papers served by CM/ECF.

s/Paul Del Aguila                                                   ______________________________________
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             J. Scott Humphrey
          I,BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          certify that I reside outside the
boundaries of the Western District of Missouri and I am not admitted to the Bar of this court. I am a member in good
                             Illinois
standing in the state(s) of ___________________________      and the United States District Court(s) of
___________________________________________________________.
Illinois, Northern District                                                 (Attach additional page if necessary.)
Pursuant to Local Rule 83.5(h), I certify I am a member in good standing in all bars of which I am a member. I
understand that if this court grants me admission pro hac vice, the movant bringing this motion must participate in the
preparation and presentation of the matters listed below, and must accept service of all papers served. I am aware that I
can register to receive CM/ECF filings. I understand and agree that should I choose not to register for CM/ECF, I will
arrange with movant to keep me advised of papers served and filed in this case.

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        312.624.6420                                    shumphrey@beneschlaw.com

Pursuant to WDMO Local Rule 83.5(h) a fee of $100 is required for each case in which the attorney is seeking
admittance.
                    Case 4:22-cv-00419-DGK Document 10 Filed 06/29/22 Page 1 of 1
